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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                       CR-07-108-GF-BMM-01

                Plaintiff,
                                            ORDER ADOPTING MAGISTRATE
    vs.                                         JUDGE’S FINDINGS AND
SUNNY RAY RAMIREZ,                          RECOMMENDATIONS TO REVOKE
                                           DEFENDANT’S SUPERVISED RELEASE
                Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on December 23, 2015. (Doc. 133.) Neither party

filed objections. When a party makes no objections, the Court need not review de

novo the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140,

149-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).
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      Judge Johnston conducted a revocation hearing on December 17, 2015.

(Doc. 132.) Ramirez admitted that she violated conditions of her supervised

release. The violations are serious and warrant revocation of Ramirez’s supervised

release. Judge Johnston recommends that this Court revoke Ramirez’s supervised

release and that the Court sentence Ramirez to 60 days in custody on each count to

run concurrently, followed by 34 months of supervised release on each count to

run concurrently. (Doc. 133 at 6.)

      Ramirez registers a criminal history category of I. The current offense

registers as a Grade C violation, and the underlying offense registers as a Class D

felony. The Court could sentence Ramirez to a maximum of 24 months

imprisonment on each count under the statute. Under the applicable guideline, the

Court could impose a sentence of 3 to 9 months imprisonment on each count.

Ramirez could be placed on supervised release for up to 37 months on each count,

less any custody time imposed.

       The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Ramirez’s violations of her conditions are a serious breach of

the Court’s trust. A sentence of 60 months imprisonment on each count to run

concurrently with a term of 34 months of supervised release on each count, to run

concurrently, represents a sufficient, but not greater than necessary, sentence.
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     IT IS HEREBY ORDERED that Judge Johnston’s Findings and

Recommendations (Doc. 133) is ADOPTED IN FULL. IT IS FURTHER

ORDERED that Defendant Sunny Ray Ramirez shall be sentenced to 60 days

imprisonment followed by 34 months of supervised release.

     DATED this 19th day of January, 2015.
